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                                                                         CLERK, U.S. DISTRICT COURT


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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT pF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    NO.2:21-MJ-04637-DUTY-1
11
                           Plaintiff,
12
               v.
                                                  ORDER OF DETENTION AFTER
13                                                HEARING
14   HAYKAZ MANSURYAN,
                                                 (18 U.S.C. § 3142(1))
15                         Defendant.
16
17
18                                                I.
19   A.   ()        On motion ofthe Government in a case allegedly involving:
20              1.() a crime of violence;
21              2.() an offense with a maximum sentence of life imprisonment or death;
22              3.() a narcotics or controlled substance offense with a maximum sentence of
23                        ten or more years;
24              4.() any felony -where the defendant has been convicted oftwo or more prior
25                        offenses described above;
26              5.() any felony that is not otherwise a crime of violence that involves a minor
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 1                     victim, or possession or use of a firearm or destructive device or any other
 2                     dangerous weapon, or a failure to register under 18 U.S.C. § 2250.
 3   B.(X)       On motion by the Government /()on Court's own motion, in a case allegedly
 4               involving:
 5               1. (X)        a serious risk that the defendant will flee;
 6               2.()          a serious risk that the defendant will:
 7                      a.() obstruct or attempt to obstruct justice;
 8                      b.() threaten, injure, or intimidate a prospective witness or juror or
 9                             attempt to do so.
10   C.          The Government()is/(X)is not entitled to a rebuttable presumption that no
11              condition or combination of conditions will reasonably assure the defendant's
12              appearance as required and the safety of any person or the community.
13
14                                                 II.
15   A.   (X)    The Court finds that no condition or combination of conditions will reasonably
16               assure:
17               1.    (X)     the appearance of the defendant as required.
18                    (X)      and/or
19               2.    (X)     the safety of any person or the community.
20   B.   ()     The Court finds that the defendant has not rebutted by sufficient evidence to the
21               contrary the presumption provided by statute.
22
23                                                 III.
24        The Court has considered:
25   A.   the nature and circumstances of the offenses) charged;
26   B.   the weight of evidence against the defendant;
27   C.   the history and characteristics ofthe defendant; and
28   D.   the nature and seriousness of the danger to any person or to the community.

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 1                                                  IV.
 2           The Court also has considered all the evidence adduced at the hearing and the arguments
 3     and/or statements of counsel, and the Pretrial Services Report and recommendation.
 4
 5                                                   V.
 6          The Court bases the foregoing findings) on the following:
 7     A.   (X)    The history and characteristics ofthe defendant indicate a serious risk that
 8                 the defendant will flee, because defendant's background is largely unverified; he
 9                 has ties to Armenia; and he previously has violated conditions of supervised
10                 release.
11     B.   (X)    The defendant poses a risk to the safety of other persons or the community
12                 because of the nature and seriousness of the allegations in this case; the
13                 allegations suggest that the defendant presents a serious economic danger to the
14 '               community; and the nature and extent of the defendant's prior criminal history,
15                 which includes prior felony convictions for similar conduct.
16
17                                                  VI.
18     A.   ()     The Court finds that a serious risk exists that the defendant will:
19                 1. Oobstruct or attempt to obstruct justice.
20                 2.()attempt to/( )threaten, injure or intimidate a witness or juror.
21     //
22     //
23     //
24     //
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26     //
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 1                                                VII.
 2   A.   IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
 3   B.   IT IS FURTHER ORDERED that the defendant be committed to the custody of the
 4        Attorney General for confinement in a corrections facility separate, to the extent
 5        practicable,from persons awaiting or serving sentences or being held in custody pending
 6        appeal.
 7   C.   IT IS FURTHER ORDERED that the defendant be afforded reasonable opportunity for
 8        private consultation with counsel.
 9   D.   IT IS FURTHER ORDERED that, on order of a Court of the United States or on
10        request of any attorney for the Government, the person in charge of the corrections
11        facility in which the defendant is confined shall deliver the defendant to a United States
12        Marshal for the purpose of an appearance in connection with a court proceeding.
13
14   DATED: October 6, 2021
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                                                            KAREN L. STEVENSON
18                                                    UNITED STATES MAGISTRATE JUDGE
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